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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 In re                                                                 18-md-2865 (LAK)

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                       Request for International Judicial
 (SKATTEFORVALTNINGEN) TAX REFUND                             Assistance pursuant to the Hague
 SCHEME LITIGATION                                                     Convention of
                                                               18 March 1970 on the Taking of
 This document relates to: All Cases.                            Evidence Abroad in Civil or
                                                                    Commercial Matters




               The United States District Court for the Southern District of New York presents

its compliments to the appropriate judicial authority of the United Kingdom of Great Britain and

Northern Ireland (the “United Kingdom”), and requests international judicial assistance to obtain

evidence to be used in a civil proceeding before this court in the above captioned matter. This

request is made pursuant to, and in conformity with, the Hague Convention of 18 March 1970 on

the Taking of Evidence Abroad in Civil or Commercial Matters.

               This Court requests the assistance described herein as necessary in the interests of

justice. The assistance requested is that the appropriate judicial authority of the United Kingdom

compel the below named entity, by its Corporate Representatives, to produce documents and

testimony.

               It is expected, based on existing timetables, that (i) the fact discovery period for

the above captioned cases will close on or around June 30, 2021, (ii) the submission of expert

reports will follow shortly after the close of fact discovery, and expert discovery will be

completed at or around the end of 2021, (iii) the parties will move for summary judgment in
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early 2022, and (iv) the United States District Court for the Southern District of New York will

schedule trial in or around 2022. A party moving for or opposing summary judgment must

present evidence to support its arguments, as it does at trial, hence the following request which is

made in support of the pending proceedings in New York.

               The particulars of this Hague Evidence Request are as follows:

     1. Sender                          Honorable Lewis A. Kaplan
                                        District Judge
                                        United States District Court for the Southern District of
                                        New York

     2. Central Authority of the        The Senior Master
        Requested State                 For the attention of the Foreign Process Section
                                        Room E16
                                        Royal Courts of Justice
                                        Strand
                                        LONDON WC2A 2LL
     3. Person to whom the              Neil J. Oxford
        executed request is to be       Hughes Hubbard & Reed LLP
        returned                        One Battery Park Plaza
                                        New York, NY 10004-1482
                                        Tel.: (212) 837-6843
                                        Email: neil.oxford@hugheshubbard.com

     4. Specification of the day by which the requesting authority requires receipt of the
        response to the Letter of Request

        Date                            April 30, 2021

        Reason for Urgency              The fact discovery period is expected to close on or
                                        around June 30, 2021. Trial may be scheduled to occur
                                        in 2022, and the parties may move for summary
                                        judgment in early 2022 as well.

 IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE
 UNDERSIGNED APPLICANT HAS THE HONOR TO SUBMIT THE FOLLOWING
 REQUEST:
    5a. Requesting judicial     Honorable Lewis A. Kaplan
        authority (Article 3,a) District Judge
                                United States District Court for the Southern District of
                                New York


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    5b. To the competent                The United Kingdom of Great Britain and Northern
        authority of (Article 3,a)      Ireland

    5c. Names of the case and any       In re Customs and Tax Administration of the Kingdom
        identifying number              of Denmark (Skatteforvaltningen) Tax Refund Scheme
                                        Litigation, 18-md-2865 (LAK)

    6. Names and addresses of the parties and their representatives
         a. Plaintiff              Skatteforvaltningen
                                   Hannemanns Allé 25, DK-2300
                                   Copenhagen, Denmark

                                        William R. Maguire
                Representatives         Marc A. Weinstein
                                        Neil J. Oxford
                                        Dustin P. Smith
                                        Hughes Hubbard & Reed LLP
                                        One Battery Park Plaza
                                        New York, New York 10004-1482
                                        United States

            b. Defendants               See attached Schedule A.

   7. Nature of the Proceedings

           a. Nature of the Proceedings

               In May and June 2018, Plaintiff Skatteforvaltningen (“SKAT”) filed 140 similar

complaints in eleven different federal judicial districts. On October 3, 2018, the federal

complaints were consolidated in this Multi-District Litigation (“MDL”) and assigned to the

Honorable Lewis A. Kaplan. In February 2019, SKAT filed 43 additional complaints, which

were consolidated into the MDL assigned to Judge Kaplan. On November 19, 2019, SKAT filed

another complaint in the Southern District of New York, which has also been incorporated into

the MDL.

               This case stems from a fraudulent tax refund scheme to deceive SKAT into

paying out over 12.7 billion Danish Kroner (“DKK”), the equivalent of approximately $2.1

billion (US) of allegedly withheld dividend tax. Each of over 300 claimants purported to own


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shares in Danish companies listed on the OMX Copenhagen 20 Index, the 20 most-traded stocks

in Denmark. Danish companies are required to withhold 27% tax on dividends they pay to

shareholders. Under certain double taxation treaties between Denmark and other countries,

including the United States, this amount is reimbursable to certain non-Danish shareholders. The

claimants, acting through their agents and representatives, applied to SKAT claiming repayments

of amounts withheld on dividends that they purported to have earned on shares of Danish

companies that they claimed to hold. These applications are alleged to have been fraudulent

because the claimants did not own the shares that they claimed to own, did not earn the dividends

they claimed to have earned, and/or were not entitled to the refund amounts they claimed. Based

on the allegedly false refund claims submitted by the defendants in the MDL, SKAT asserts that

it paid baseless withholding tax refund claims of approximately $1.2 billion (US). Claimants,

that were based in the United States, along with certain of their authorized representatives and

other affiliated individuals and entities, are the Defendants in this MDL.

               The claimants effectuated the scheme by appointing agents to apply to SKAT for

refunds in respect of shares in Danish companies that they did not own or for which they were

not otherwise entitled. The claimants each submitted refund claims seeking the full 27%

withholding tax that had allegedly been withheld from distributions on shares of Danish

companies the claimants purported to own. These claims were submitted through payment

agents, which in turn submitted the claims to SKAT. Each entity claiming a withholding tax

refund submitted to SKAT a “credit advice,” “income advice,” “tax voucher,” or similar

document (a “Credit Advice”) created by a custodian (“Custodian”) that purported to show the

claimant’s ownership of shares in Danish companies listed on the OMX Copenhagen 20 Index.

Certain Custodians in this case, however, have indicated that the Custodians themselves did not



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have custody of the securities reflected on their Credit Advices, but instead that they had custody

accounts with other credit institutions (the “Sub-Custodians”) where the securities were held.

Specifically, J.P. Morgan Securities plc (“J.P. Morgan”) is alleged to have served as a Sub-

Custodian that held Danish Securities on behalf of certain Custodians, and by extension, certain

Defendants in this MDL. As such, information related to the securities held by the Sub-

Custodians, such as J.P. Morgan, is relevant to the issue as to whether the Defendants held the

shares they purported to own, and so is pertinent to the claims in the MDL.

           b. Summary of Complaints

               The allegations in SKAT’s complaints in the consolidated actions are

substantially similar. SKAT brought complaints against multiple classes of defendants that are

subject to jurisdiction in the United States, including: “Plan Defendants,” the pension plans that

submitted fraudulent dividend withholding tax refund claims to SKAT; “Authorized

Representative Defendants,” individuals who signed powers of attorney authorizing payment

agents to submit fraudulent dividend withholding tax refund claims to SKAT; and “Incorporator

Defendants,” defendants who incorporated business entities associated with the Plan Defendants

that submitted fraudulent dividend withholding tax refund claims to SKAT; as well as other

affiliated individuals and entities. The complaints allege that between 2012 and 2015,

Defendants submitted fraudulent requests for tax refunds to SKAT. Plaintiff SKAT asserts

claims for fraud, aiding and abetting fraud, payment by mistake, unjust enrichment, negligent

misrepresentation, and related claims.




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           c. Summary of Defense

               The Defendants have been heard in the context of this proceeding by way of their

respective answers and responses to the complaints, and deny the facts set forth in support of the

claims asserted in the complaints.

    8a. Evidence to be obtained or      Plaintiff SKAT seeks documents and witness
        other judicial act to be        examination on oral questions for not more than a total
        performed (Article 3,d)         of seven hours from a responsible officer of J.P. Morgan
                                        Securities plc (“J.P. Morgan”)

    8b. Purpose of the evidence or      The documents requested from J.P. Morgan will
        other judicial act sought       demonstrate whether the Defendants made false
                                        representations regarding their ownership of shares in
                                        Danish companies; whether the Defendants owned
                                        shares in the Danish companies in which they purported
                                        to own shares or owned such shares in sufficient
                                        quantities to obtain dividends they claim to have
                                        received; the circumstances of Defendants’ ownership
                                        of shares and receipt of dividends from the Danish
                                        companies in which Defendants purported to own
                                        shares; and whether Defendants were paid dividends
                                        from Danish companies in which they purported to own
                                        shares and from which Defendants purported to have
                                        received dividends, including whether Defendants had
                                        tax withheld on the dividends they purported to receive
                                        from Danish companies.

                                        Based on discussions between SKAT’s counsel and JP
                                        Morgan, there is good reason to believe that the
                                        intended witness is privy to the information, and in a
                                        position to produce the documents, sought

    9. Identity and address of   Corporate Representative of J.P. Morgan
       any person to be examined 25 Bank Street, Canary Wharf, Floor 23
       (Article 3,e)             London, GB-LND, E14 5JP, United Kingdom




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     10. Questions to be put to the person to be examined or statement of the subject-matter
         about which they are to be examined (Article 3,f)

                  The subject of the oral testimony will be:1

             a. J.P. Morgan’s holding of Danish Securities and/or derivatives based on Danish
                Securities for the Custodians, Shah-Related Entities, or Shah-Related Individuals;

             b. J.P. Morgan’s opening and maintenance of accounts for the Custodians, Shah-
                Related Entities, or Shah-Related Individuals;

             c. The Custodians’, Shah-Related Entities’, or Shah-Related Individuals’ purchase,
                sale, lending, financing, or other trade or transfer of any Danish Security;

             d. Agreements between J.P. Morgan and the Custodians, Shah-Related Entities, or
                Shah-Related Individuals;

             e. The Custodians’, Shah-Related Entities’, or Shah-Related Individuals’ receipt of
                Dividends based on Danish Securities into accounts at J.P. Morgan; and

             f. Authentication of documents produced pursuant to Paragraph 11, if necessary.

     11. Documents or other property to be inspected (Article 3,g)

                  The United States District Court for the Southern District of New York requests

that J.P. Morgan produce the following documents, described below, which are in its custody,

possession or control, provide a business records certification in the form annexed hereto, and to

answer questions upon oral deposition regarding the authenticity, purpose, and meaning of the

documents so produced.

             a. Definitions

 i. “Applicable Period” means January 1, 2012 until December 31, 2016.

 ii. “Custodians” means Argon Markets, BNP Securities Services SCA, ED&F Man Capital

      Markets Limited, Indigo Securities Ltd, Investec Bank PLC, Lindisfarne Partners LLP,

      North Channel Bank GmbH, Old Park Lane Capital PLC, Salgado Capital, Solo Capital




1.   Defined terms in this Section have the meanings provided in Section 11.a, infra.

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    Partners LLP, Telesto Markets LLP, and West Point Derivatives Ltd., and any of their

    affiliates, subsidiaries, predecessors, successors, assigns, principals, officers, directors,

    employees, agents, representatives, trustees, and attorneys.

iii. “Danish Securities” means shares of any one of the following Danish securities:

                           1. A.P. Møller Mærsk A/S
                           2. A.P. Møller Mærsk A/S A
                           3. A.P. Møller Mærsk A/S B
                           4. Auriga Industries A/S
                           5. Carlsberg A/S
                           6. Carlsberg A/S - B
                           7. CHR. Hansen Holding A/S
                           8. Coloplast A/S
                           9. Coloplast A/S - B
                           10. Dampskibsselskabet Norden A/S
                           11. Danske Bank A/S
                           12. DSV A/S
                           13. FLSmidth & CO A/S
                           14. Gn Store Nord A/S
                           15. H Lundbeck A/S
                           16. IC Company A/S
                           17. ISS World Services A/S
                           18. NKT Holding A/S
                           19. Novo Nordisk A/S
                           20. Novo Nordisk A/S B
                           21. Novozymes A/S
                           22. Novozymes A/S B
                           23. Pandora A/S
                           24. Simcorp A/S
                           25. Sydbank A/S
                           26. TDC A/S
                           27. Tryg A/S
                           28. Vestas Wind Systems A/S

iv. “Dividend(s)” means any dividend received as a result of any interest in a Danish Security,
    including, but not limited to, manufactured dividends and any other dividends not received
    directly from the entity that issued the dividend.

v. “J.P. Morgan” means J.P. Morgan Securities plc, and its affiliates, subsidiaries,
   predecessors, successors, assigns, principals, officers, directors, employees, agents,
   representatives, and attorneys.

vi. “Shah-Related Entity(ies)” means any company (including, but not limited to, Aesa S.a.r.L.,
    Ganymede Cayman Limited, Elysium Global Limited, Elysium Global Dubai Limited, Old

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     Park Lane Capital PLC, Solo Capital Partners LLP, Telesto Markets LLP, and West Point
     Derivatives Ltd.) created, established, founded, or managed by Sanjay Shah.

vii. “Shah-Related Individual(s)” means the principals, officers, directors, employees, agents,
     representatives and attorneys of Shah-Related Entities, including, but not limited to, Jas
     Bains, Sanjeev Dave, Anupe Dwala, Adam Forsyth, Graham McKenzie Horn, Gary Pitts,
     Nirav Patel, Craig David Price, Rajen Shah, Sanjay Shah, Jessica Spoto, Frank Vogel, and
     Dipti Vyas.

           b. Documents to be Produced

           i.      The list of the accounts at J.P. Morgan held by any Custodian, Shah-Related
                   Entity, or Shah-Related Individual during the Applicable Period;

           ii.     The account statements for J.P. Morgan accounts held by any Custodian,
                   Shah-Related Entity, or Shah-Related Individual during the Applicable
                   Period;

           iii.    J.P. Morgan’s stock record showing holdings of Danish Securities by any
                   Custodian, Shah-Related Entity, or Shah-Related Individual during the
                   Applicable Period;

           iv.     J.P. Morgan’s cash record showing any holdings of cash by any Custodian,
                   Shah-Related Entity, or Shah-Related Individual during the Applicable
                   Period;

           v.      The Documents showing the ownership, purchase, sale, borrowing, lending,
                   financing, or other trade or transfer or cancellation of any trade or transfer of
                   any Danish Security (or derivatives based on any Danish Security) by or on
                   behalf of any Custodian, Shah-Related Entity, or Shah-Related Individual
                   during the Applicable Period;

           vi.     The Documents, including SWIFT messages, demonstrating the receipt of any
                   Dividend by J.P. Morgan, into the account of any Custodian, Shah-Related
                   Entity, or Shah-Related Individual during the Applicable Period;

           vii.    The Documents provided to J.P. Morgan during the opening of any account by
                   any Custodian, Shah-Related Entity, or Shah-Related Individual; and

           viii.   The Contracts or Agreements dated or with effect during the Applicable
                   Period between J.P. Morgan and any Custodian, Shah-Related Entity, or Shah-
                   Related Individual.




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12. Any requirement that the      The examinations shall be taken under the Federal Rules
    evidence be given on oath     of Civil Procedure of the United States of America,
    or affirmation and any        except to the extent such procedure is incompatible with
    special form to be used       the law of the United Kingdom. The testimony shall be
    (Article 3,h)                 given under oath.

13. Special methods or            The United States District Court for the Southern
    procedure to be followed      District of New York further requests that the Parties’
    (Articles 3,i and 9)          representatives or their designees, a court reporter, and a
                                  videographer be permitted to be present during the
                                  examination and make a verbatim record of the
                                  proceedings; and that the representatives or designees
                                  be permitted to examine and cross-examine the
                                  witnesses directly.

14. Request for notification of   It is requested that testimony be taken at such place,
    the time and place for the    date, or time as ordered by the Royal Courts of Justice
    execution of the Request      and/or as otherwise scheduled by the representatives of
    and identity and address      the Plaintiffs and/or as otherwise agreed to by the
    of any person to be           witnesses and the respective representatives of the
    notified (Article 7)          Parties.

                                  Notice thereof should be made to Plaintiff’s counsel:
                                  Richard Dickman
                                  Pinsent Masons LLP
                                  30 Crown Place
                                  Earl Street
                                  London EC2A 4ES

15. Request for attendance or None.
    participation of judicial
    personnel of the
    requesting authority at
    the execution of the Letter
    of Request (Article 8)




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    16. Specification of privilege     Under the laws of the United States, a party has a
        or duty to refuse to give      privilege to refuse to disclose the contents of a
        evidence under the law of      confidential communication between that party and an
        the State of origin (Article   attorney that was made for the purpose of obtaining
        11, b)                         legal advice.

                                       Parties also enjoy limited privileges not relevant here,
                                       such as communications between physician and patient,
                                       psychotherapist and patient, husband and wife, or clergy
                                       and penitent.

                                       United States law also recognizes a testimonial privilege
                                       for individuals against criminal self-incrimination. This
                                       privilege does not apply to production of documents by
                                       an entity such as J.P. Morgan.

                                       Outside the strict area of privilege, certain limited
                                       immunities are available that may place restrictions on
                                       the giving of evidence, such as the limited protection of
                                       documents created by attorneys in anticipation of
                                       litigation.

    17. The fees and costs          SKAT
        incurred which are
        reimbursable under the
        second paragraph of
        Article 14 or under Article
        26 of the Convention will
        be borne by

Date of Request:

                                                        _________________________________
                                                              Signature and Seal of the
                                                                Requesting Authority




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           SCHEDULE A – DEFENDANTS AND REPRESENTATIVES

                   Defendant                              Representative
Avanix Management LLC                           Alan E. Schoenfeld
Avanix Management LLC Roth 401K Plan            WilmerHale
Batavia Capital Pension Plan                    7 World Trade Center
Calypso Investments Pension Plan                250 Greenwich Street
Cavus Systems LLC                               New York, NY 10007
Cavus Systems LLC Roth 401(K) Plan
Hadron Industries LLC                           Tel: (212) 295-6401
Hadron Industries LLC Roth 401(K) Plan          alan.schoenfeld@wilmerhale.com
Jocelyn Markowitz
Richard Markowitz
RJM Capital Pension Plan
RJM Capital Pension Plan Trust
Routt Capital Pension Plan
Routt Capital Trust

David W. Freelove                               Bryan C. Skarlatos
Del Mar Asset Management Saving &               Eric Smith
Retirement Plan                                 Kostelanetz & Fink, LLP
Federated Logistics LLC 401(K) Plan             7 World Trade Center
John C. Doscas                                  250 Greenwich Street, 34th Fl.
Sterling Alpha LLC 401(K) Profit Sharing Plan   New York, NY 10007

                                                Tel: (212) 808-8100
                                                bskarlatos@kflaw.com
                                                esmith@kflaw.com
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Azalea Pension Plan                           Caroline Ciraolo
Basalt Ventures LLC Roth 401(K) Plan          Sharon L. McCarthy
Bernina Pension Plan                          Nicholas S. Bahnsen
Bernina Pension Plan Trust                    Kostelanetz & Fink, LLP
Elizabeth Van Merkensteijn                    601 New Jersey Avenue, NW
John Van Merkensteijn                         Suite 620
Michelle Investments Pension Plan             Washington, DC 20001
Omineca Pension Plan
Omineca Trust                                 Tel: (202) 875-8000
Remece Investments LLC Pension Plan           cciraolo@kflaw.com
Starfish Capital Management LLC Roth 401(K)   smccarthy@kflaw.com
Plan                                          nbahnsen@kflaw.com
Tarvos Pension Plan
Voojoo Productions LLC Roth 401(K) Plan
Xiphias LLC Pension Plan




Robert Klugman                                David L. Goldberg
Aerovane Logistics LLC Roth 401(K) Plan       Katten Muchin Rosenman LLP
Edgepoint Capital LLC Roth 401(K) Plan        575 Madison Avenue
Headsail Manufacturing LLC Roth 401(K) Plan   New York, NY 10022
The Random Holdings 401K Plan
                                              Tel: (212) 940-6787
                                              david.goldberg@kattenlaw.com

Acer Investment Group LLC                     John C. Blessington
Alexander Jamie Mitchell III                  Brandon R. Dillman
American Investment Group of New York, L.P.   Michael Waller
Pension Plan                                  K&L Gates LLP
Darren Wittwer                                State Street Financial Center, One
David Schulman                                Lincoln Street
DW Construction, Inc. Retirement Plan         Boston, MA 02111
Joan Schulman
Kamco Investments, Inc. Pension Plan          Tel: (617) 261-3100
Kamco LP Profit Sharing Pension Plan          john.blessington@klgates.com
Linden Associates Defined Benefit Plan        brandon.dillman@klgates.com
Moira Associates LLC 401 (K) Plan             michael.waller@klgates.com
Newsong Fellowship Church 401 (K) Plan
Riverside Associates Defined Benefit Plan
Robert Crema
Stacey Kaminer


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Acorn Capital Corporation Employee Profit       John Hanamirian
Sharing Plan                                    Hanamirian Law Firm
Acorn Capital Strategies LLC Employee Pension   30 Wall Street
Profit Sharing Plan & Trust                     New York, NY 10005
Cambridge Way LLC 401K Profit Sharing Plan
Gregory Summers                                 Tel: (856) 793-9092
Shreepal Shah                                   jmh@hanamirian.com

Ackview Solo 401K Plain                         Mark Allison
Aerovane Logistics LLC Roth 401(K) Plan         Zhanna Ziering
Blackrain Pegasus LLC Solo 401K Plan            Caplin & Drysdale, Chartered
Blue Ocean Equity LLC Retirement Plan &         600 Lexington Avenue, 21st Floor
Trust                                           New York, NY 10022
Bradley Crescenzo
Carl Andrew Vergari                             Tel: (212) 379-6000
Cole Enterprises USA Retirement Plan & Trust    mallison@capdale.com
CSCC Capital Pension Plan                       zziering@capdale.com
Delgado Fox LLC Solo 401K Plan
Doston Bradley
Edgepoint Capital LLC Roth 401(K) Plan
FiftyEightSixty LLC Solo 401K Plan
Gavin Crescenzo
Gyos 23 LLC Solo 401K Plan
Headsail Manufacturing LLC Roth 401K Plan
JML Capital LLC 401K Plan
John LaChance
Kevin Kenning
KK Law Firm Retirement Plan Trust
Matthew Tucci
Mitchell Protass
Natoli Management Pension Plan
Nova Fonta Trading LLC 401K Plan
NYCATX LLC Solo 401K Plan
OneZeroFive LLC Solo 401K Plan
Pegasus Fox 23 LLC Solo 401K Plan
RAK Investment Trust
Robert Klugman
Roger Lehman
Sanford Villa Pension Plan
Sean P. Driscoll
Svetlin Petkov
The 78 Yorktown Pension Plan
The Aria Pension Plan
The Aston Advisors LLC 401K Plan
The Atlantic DHR 401K Plan



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The Balmoral Management LLC 401K Pension
Plan
The Beech Tree Partners 401K Plan
The Belforte Pension Plan
The Bella Consultants Pension Plan
The Blackbird 401K Plan
The Bradley London Pension Plan
The Bravos Advisors 401K Plan
The Busby Black 401K Plan
The Cambridge Town Line Pension Plan
The Canada Rock LLC 401K Plan
The Cardinal Consulting Pension Plan
The Chambers Property Management, LLC
401K Plan
The Costello Advisors Pension Plan
The Crow Associates Pension Plan
The Diamond Scott Capital Pension Plan
The Dink 14 LLC 401K Plan
The DMR Pension Plan
The Dosmon BLY Pension Plan
The Egret Associates LLC 401K Plan
The Eskin Pension Plan
The Everything Clean LLC 401K Plan
The Fieldcrest Pension Plan
The FWC Capital LLC Pension Plan
The Green Group Site Pension Plan
The Hawk Group Pension Plan
The Heron Advisors Pension Plan
The Hibiscus Partners LLC 401K Plan
The Hoboken Advisors LLC 401K Plan
The Hotel Fromance Pension Plan
The Houston Rocco LLC 401K Plan
The India Bombay LLC 401K Pension Plan
The ISDB Pension Plan
The Jayfran Blue Pension Plan
The Joanne E. Bradley Solo 401K Plan
The JT Health Consulting LLC 401K Plan
The Jump Group LLC 401K Plan
The KASV Group Pension Plan
The Kodiak Capital Pension Plan
The Krabi Holdings LLC 401K Plan
The Kyber Pension Plan
The Lakeview Advisors 401K Plan
The LBR Capital Pension Plan
The Lerici Capital Pension Plan
The Ludlow Holdings 401K Plan

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The M2F Wellness LLC 401K Plan
The Maple Advisors LLC 401K Plan
The Monin Amper Pension Plan
The Mountain Air LLC 401K Plan
The MPQ Holdings LLC 401K Plan
The Mueller Investments Pension Plan
The NYC Stanismore Pension Plan
The Oak Tree One 401K Plan
The Oaks Group Pension Plan
The Osprey Assocs. LLC 401K Plan
The Patrick Partners Conglomerate Pension Plan
The Petkov Management LLC 401K Plan
The Petkov Partners Pension Plan
The Proper Pacific LLC 401K Plan
The Random Holdings 401K Plan
The RDL Consulting Group LLC Pension Plan
The Regoleth Pension Plan
The Robin Daniel Pension Plan
The Saba Capital LLC 401K Plan
The Sandpiper Pension Plan
The Sea Bright Advisors LLC 401K Plan
The Sector 230 LLC 401K Plan
The Shapiro Blue Management LLC 401K Plan
The Sinclair Pension Plan
The SKSL LLC Pension Plan
The Skybax LLC 401K Plan
The Snow Hill Pension Plan
The SPKK LLC 401K Plan
The Stark Pension Plan
The Stor Capital Consulting LLC 401K Plan
The SVP 401K Plan
The Tag Realty Advisors LLC 401K Plan
The Texas Rocco LLC 401K Plan
The Throckmorton Advisors 401K Plan
The TKKJ LLC 401K Plan
The Valerius LLC Solo 401K Plan
The Wave Maven LLC 401K Plan
The West River Pension Plan
The Westport Advisors LLC 401K Plan
The Westridge Ave LLC 401K Plan
The Zen Training LLC 401(K) Plan
Thomas Kertelits
Todd Bergeron
Vincent Natoli




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Andrea Tew                                       Mark J. Hyland
Autoparts Pensions Group Trust                   Thomas Ross Hooper
Bernard Tew                                      Seward & Kissel LLP
Bluegrass Investment Management, LLC             One Battery Park Plaza
Bluegrass Investment Management, LLC             New York, NY 10004
Retirement Plan
Bluegrass Retirement Group Trust                 Tel: (202) 737-8833
Casting Pensions Group Trust                     hyland@sewkis.com
Central Technologies Pensions Group Trust        hooper@sewkis.com
Industrial Pensions Group Trust
Stephanie Tew                                    Philip W. Collier
SV Holdings, LLC Retirement Plan                 John W. Pollom
Tew Enterprises, LLC Retirement Plan             Stites & Harbison PLLC
Tew, LP Retirement Plan                          400 West Market Street
Vincent Tew                                      Suite 1800
                                                 Louisville, Kentucky 40202
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Fairlie Investments LLC Roth 401(K) Plan
First Ascent Worldwide LLC Roth 401(K) Plan
Fulcrum Productions LLC Roth 401(K) Plan
Green Scale Management LLC Roth 401(K)
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Joseph Herman
Keystone Technologies LLC Roth 401(K) Plan
Limelight Global Productions LLC Roth 401(K)
Plan
Loggerhead Services LLC Roth 401(K) Plan
Monomer Industries LLC Roth 401(K) Plan
PAB Facilities Global LLC Roth 401(K) Plan
Perry Lerner
Pinax Holdings LLC Roth 401(K) Plan
Plumrose Industries LLC Roth 401K Plan
Roadcraft Technologies LLC Roth 401(K) Plan
Robin Jones
Ronald Altbach
Sternway Logistics LLC Roth 401(K) Plan
Trailing Edge Productions LLC Roth 401(K)
Plan
True Wind Investments LLC Roth 401(K) Plan
Tumba Systems LLC Roth 401(K) Plan
Vanderlee Technologies Pension Plan
Vanderlee Technologies Pension Plan Trust




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX REFUND                                     18-md-2865 (LAK)
 SCHEME LITIGATION

 This document relates to: All Cases.


             DECLARATION OF _______________ CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(12)


               I, ______________________________, hereby declare and certify the following

pursuant to Federal Rule of Evidence 902(12):


               1.      I am currently employed by J.P. Morgan Securities plc – London Branch

(“J.P. Morgan”). My official title is ___________________.

               2.      By reason of my position and experience, I am a duly authorized custodian

of records, or qualified witness, for J.P. Morgan, and have authority to certify the records herein

described.

               3.      In response to an order of [the Court of the United Kingdom] dated

_____________, ordering the production of documents identified in a Letter of Request from the

District Court of the Southern District of New York dated _____________, J.P. Morgan

produced [identification of documents, such as production volume or Bates number] to Neil J.

Oxford, Esq., counsel for Skatteforvaltningen in this matter.




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               4.     In my capacity as custodian of records for J.P. Morgan, I certify that, aside

from the production number, the records listed above are true and correct copies of records

extracted from J.P. Morgan’s business records maintained in the ordinary course of its business.

               5.     The records listed above were:

                      a.      Made by J.P. Morgan personnel at or near the time of the

occurrence of the matters set forth therein, by, or from information transmitted by, persons with

knowledge of those matters;

                      b.      Kept by J.P. Morgan personnel in the course of J.P. Morgan’s

regularly conducted business activities; and

                      c.      Made by the regularly conducted activities as a regular practice.


               I certify under penalty of perjury that the foregoing is true and correct.


Date:



                                                              _____________________________




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